Case 1:25-cv-02429-MKV   Document 142-2   Filed 05/23/25   Page 1 of 7




                 EXHIBIT A
Case 1:25-cv-02429-MKV   Document 142-2   Filed 05/23/25   Page 2 of 7
      Case 1:25-cv-02429-MKV              Document 142-2          Filed 05/23/25        Page 3 of 7
Part II: Terms and Conditions of NIH Grant Awards - Subpart A




PART II: TERMS AND CONDITIONS OF NIH GRANT
AWARDS

Subpart A: General

3 OVERVIEW OF TERMS AND CONDITIONS
Part II includes the terms and conditions of NIH grants and cooperative agreements and is incorporated
by reference in all NIH grant and cooperative agreement awards. Subpart A (IIA) includes those terms
and conditions that apply, in general, to NIH awards. Subpart B (IIB) either expands on IIA coverage or
specifies additional or alternate terms and conditions for particular types of awards, recipients, or activ-
ities.
These terms and conditions are not intended to be all-inclusive. All awards or a specified subset of
awards also may be subject to additional requirements, such as those included in executive orders and
appropriations acts.
NIH recipients are responsible for complying with all requirements of the Federal award. NIH grants
awards are based on the application submitted to, and approved by, the NIH and are subject to the terms
and conditions incorporated either directly or by reference in the following:
        The grant program legislation and program regulation cited in the NoA.
        The NIH Grants Policy Statement, including addenda in effect as of the beginning date of the
         budget period.
        Conditions on activities and expenditure of funds in other statutory requirements, such as those
         included in appropriations acts. This also includes any recent legislation.
        2 CFR Part 200.
        The NoA including all terms and conditions cited on the document or attachments.
Notice of requirements not specified in the NIHGPS generally will be provided in the NoA, but such
notice is not required for the award to be subject to the requirements of pertinent statutes and regulations.
An individual award also may contain award-specific terms and conditions. For example, the GMO may
include terms or conditions necessary to address concerns about an applicant’s management systems.
Program and administrative policies and the terms and conditions of individual awards are intended to
supplement, rather than substitute for, governing statutory and regulatory requirements. Thus, the require-
ments of the NIHGPS apply in addition to governing statutory and regulatory requirements not cited
herein, and award-specific terms apply in addition to the requirements of the NIHGPS.
This NIHGPS is an aid to the interpretation of statutory and regulatory requirements. These terms and
conditions are intended to be compliant with governing statutes and the requirements of 2 CFR Part 200,
as modified by previously approved waivers and deviations. However, in the case of a conflict, the stat-
utes and regulations govern.
If there is a perceived conflict between or among these three categories of requirements—statutory and
regulatory requirements, the terms and conditions in the NIHGPS, and award-specific terms and con-
ditions—or if the recipient has other questions concerning award terms and conditions, the recipient



3 Overview of Terms and Conditions                                                                 IIA-1
      Case 1:25-cv-02429-MKV            Document 142-2         Filed 05/23/25       Page 4 of 7
Part II: Terms and Conditions of NIH Grant Awards - Subpart A



should request written clarification from the GMO. This may be done at any time; however, if the inclu-
sion of the term or condition would cause the recipient not to accept the award or to be unable to com-
ply, the question should be raised before funds are requested from the HHS payment system. By drawing
funds from the HHS payment system, the recipient agrees to the terms and conditions of the award.

3.1 FEDERALWIDE STANDARD TERMS AND CONDITIONS
FOR RESEARCH GRANTS
In order to create greater consistency in the administration of Federal research awards, all Federal
research agencies now utilize a standard core set of administrative terms and conditions on research and
research-related awards that are subject to 2 CFR Part 200, to the extent practicable. The core set of
administrative requirements for participating Federal research agencies and other pertinent documents
are posted on the National Science Foundation's web site. Recipients are encouraged to review the com-
panion documents which include a Prior Approval Matrix, National Policy Requirement Matrix,
Subaward Requirement Matrix, and Agency-Specific Requirements. NIH implementation of these Feder-
alwide research terms and conditions is also known as the "NIH Standard Terms of Award".
See Administrative Requirements—Changes in Project and Budget—NIH Standard Terms of Award for
more details.




3 Overview of Terms and Conditions                                                             IIA-2
      Case 1:25-cv-02429-MKV             Document 142-2          Filed 05/23/25       Page 5 of 7
Part II: Terms and Conditions of NIH Grant Awards - Subpart A



before taking action unless public health or welfare concerns require immediate action. However, even if
a recipient is taking corrective action, NIH may take proactive actions to protect the Federal gov-
ernment’s interests, including placing specific conditions on awards or precluding the recipient from
obtaining future awards for a specified period, or may take action designed to prevent future non-com-
pliance, such as closer monitoring.

8.5.1 Specific Award Conditions: Modification of the Terms of Award
During grant performance, the GMO may include specific award conditions in the grant award to require
correction of identified financial or administrative deficiencies as a means of protecting NIH’s interests
and effecting positive change in a recipient’s performance or compliance. When specific conditions are
imposed, the GMO will notify the recipient in writing of the nature of the conditions, the reason why
they are being imposed, the type of corrective action needed, the time allowed for completing corrective
actions, and the method for requesting reconsideration of the conditions. See 42 CFR Part 52.9 and 2
CFR Part 200.339.
The NIH awarding IC may withdraw approval of the PD/PI or other senior/key personnel specifically ref-
erenced in the NoA if there is a reasonable basis to conclude that the PD/PI and other such named seni-
or/key personnel are no longer qualified or competent to perform the research objectives. In that case,
the awarding IC may request that the recipient designate a new PD/PI or other named senior/key per-
sonnel.
Generally, the decision to modify the terms of an award (e.g., by imposing specific award conditions) is
discretionary on the part of the NIH awarding IC and is not appealable.

8.5.2 Remedies for Noncompliance or Enforcement Actions: Sus-
pension, Termination, and Withholding of Support
If a recipient has failed to comply with the terms and conditions of award, NIH may take one or more
enforcement actions which include disallowing costs, withholding of further awards, or wholly or partly
suspending the grant, pending corrective action. NIH may also terminate the grant in whole or in part as
outlined in 2 CFR Part 200.340. The regulatory procedures that pertain to suspension and termination are
specified in 2 CFR Parts 200.340 through 200.343.




8 Administrative Requirements                                                                  IIA-155
      Case 1:25-cv-02429-MKV              Document 142-2           Filed 05/23/25       Page 6 of 7
Part II: Terms and Conditions of NIH Grant Awards - Subpart A



    a. NIH or the pass-through entity must provide the non-Federal entity a notice of termination
    b. If the award is terminated for the non-Federal entity’s material failure to comply with the
       Federal statutes, regulations, or terms and conditions of the Federal award, the notification must
       state that:
            1. The termination decision will be reported to the OMB-designated integrity and per-
                formance system accessible through SAM (currently FAPIIS);
             2. The information will be available in the OMB-designated integrity and performance sys-
                tem for a period of five years from the date of the termination, then archived;
             3. Awarding agencies that consider making a Federal award to the non-Federal entity dur-
                ing that five year period must consider that information in judging whether the non-
                Federal entity is qualified to receive the Federal award, when the Federal share of the
                Federal award is expected to exceed the simplified acquisition threshold over the period
                of performance;
             4. The non-Federal entity may comment on any information the OMB-designated integrity
                and performance system contains about the non-Federal entity for future consideration
                by HHS awarding agencies. The non-Federal entity may submit comments to the recip-
                ient integrity and performance portal accessible through CPARS.
             5. Federal awarding agencies will consider the non-Federal entity comments when determ-
                ining whether the non-Federal entity is qualified for a future Federal award.
    c. Upon termination of an award, NIH must provide the information required under FFATA to the
       Federal web site established to fulfill the requirements of FFATA and update or notify any other
       relevant government-wide systems or entities of any indications of poor performance as required
       by 41 U.S.C. 417b and 31 U.S.C. 3321. See also the requirements for Suspension and
       Debarment at 2 CFR Part 180.
NIH generally will suspend (rather than immediately terminate) a grant and allow the recipient an oppor-
tunity to take appropriate corrective action before NIH makes a termination decision. However, NIH
may decide to terminate the grant if the recipient does not take appropriate corrective action during the
period of suspension. NIH may immediately terminate a grant when necessary, such as to protect the pub-
lic health and welfare from the effects of a serious deficiency. Termination may be appealed under NIH
and HHS grant appeals procedures (see Administrative Requirements—Grant Appeals Procedures).
A grant also may be terminated, partially or totally, by the recipient or by NIH with the consent of the
recipient. If the recipient decides to terminate a portion of a grant, NIH may determine that the remain-
ing portion of the grant will not accomplish the purposes for which the grant was originally awarded. In
any such case, NIH will advise the recipient of the possibility of termination of the entire grant and allow
the recipient to withdraw its termination request. If the recipient does not withdraw its request for partial
termination, NIH may initiate procedures to terminate the entire grant.
See Cost Considerations—Allowability of Costs/Activities—Selected Items of Cost for the allowability
of termination costs. Allowability of these costs does not vary whether a grant is terminated by NIH, ter-
minated at the request of the recipient, or terminated by mutual agreement.
Withholding of support is a decision not to make a non-competing continuation award within the current
competitive segment. Support may be withheld for one or more of the following reasons:
        Adequate Federal funds are not available to support the project.
        A recipient failed to show satisfactory progress in achieving the objectives of the project.
        A recipient failed to meet the terms and conditions of a previous award.



8 Administrative Requirements                                                                     IIA-156
      Case 1:25-cv-02429-MKV              Document 142-2          Filed 05/23/25       Page 7 of 7
Part II: Terms and Conditions of NIH Grant Awards - Subpart A


        For whatever reason, continued funding would not be in the best interests of the Federal gov-
         ernment.
The recipient may appeal NIH’s determination to deny (withhold) a non-competing continuation award
because the recipient failed to comply with the terms and conditions of a previous award.

8.5.3 Other Enforcement Actions
Depending on the nature of the deficiency, NIH may use other means of promoting recipient compliance.
Other options available to NIH include, but are not limited to conversion from an advance payment
method to a reimbursement method or disallow (deny) all or part of the cost of the activity or action not
in compliance. Other actions may include suspension or debarment of an organization or individual
under Government-wide Debarment and Suspension rules provided at 45 CFR Part 76, and other avail-
able legal remedies, such as civil action. Suspension under 45 CFR Part 76, implementing E.O.s 12549
and 12689, “Debarment and Suspension,” is a separate action from the “suspension” of an award as a
post-award remedy, as described in Suspension, Termination, and Withholding of Support above. The
subject of debarment and suspension as an eligibility criterion is addressed in Completing the Pre-Award
Process—Determining Eligibility of Individuals and Public Policy Requirements and Objectives—
Debarment and Suspension.

8.5.4 Recovery of Funds
NIH may identify and administratively recover funds paid to a recipient at any time during the life cycle
of a grant. Debts may result from cost disallowances, unobligated balances, unpaid share of any required
matching or cost sharing, funds in the recipient’s account that exceed the final amount determined to be
allowable, or other circumstances. NIH guidance on the repayment of grant funds that are unrelated to
audit findings can be found on the OER Web site.

8.5.5 Debt Collection
The debt collection process is governed by the Federal Claims Collection Act, as amended (Public Law
[P.L.] 89-508, 80 Stat. 308, July 19, 1966); the Federal Debt Collection Act of 1982 (P.L. 97-365, 96
Stat. 1749, October 25, 1982); the Debt Collection Improvement Act (P. L.104-134, 110 Stat. 1321,
April 26, 1996); and, the Federal Claims Collection Standards (31 CFR Parts 900-904), which are imple-
mented for HHS in 45 CFR 30. NIH is required to collect debts due to the Federal government and,
except where prohibited by law, to charge interest on all delinquent debts owed to NIH by recipients.
When NIH determines the existence of a debt under a grant, written debt notification will be provided to
the recipient. Unless otherwise specified in law, regulation, or the terms and conditions of the award,
debts are considered delinquent if they are not paid within 30 days from the date the debt notification is
mailed to the recipient. Delinquent debts are subject to the assessment of interest, administrative cost
charges, and penalties. The interest on delinquent debts accrues on the amount due beginning on the date
the debt notification is mailed to the recipient.
If a recipient appeals an adverse monetary determination under 42 CFR Part 50, Subpart D, or 45 CFR
Part 16, interest will accrue but assessment will be deferred pending a final decision on the appeal. If the
appeal is not successful, interest will be charged beginning with the date the debt notification was mailed
to the recipient, not the date of the appeal decision. Interest charges will be computed using the pre-
vailing rate in effect on the date the debt notification is mailed, as specified by the Department of the
Treasury and 45 CFR Part 30.13(a)(2).




8 Administrative Requirements                                                                    IIA-157
